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 8                          UNITED STATES DISTRICT COURT
 9                         WESTERN DISTRICT OF WASHINGTON
                                     AT SEATTLE
10
                                                No. 2:22-cv-01009-TL
11   SECURITIES AND EXCHANGE
     COMMISSION,                                COINBASE, INC.’S SUPPLEMENTAL
12                                              STATEMENT
                         Plaintiff,
13
           v.
14
     ISHAN WAHI, NIKHIL WAHI, and
15   SAMEER RAMANI,

16                       Defendants.

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     COINBASE, INC.’S SUPPLEMENTAL                       Gibson, Dunn & Crutcher LLP
     STATEMENT                                            1050 Connecticut Ave. N.W.
     CASE NO. 2:22-cv-01009-TL                              Washington, D.C. 20036
                                                              Tel.: 202-955-8500
                Case 2:22-cv-01009-TL Document 98 Filed 03/22/23 Page 2 of 3



 1          Pursuant to this Court’s order of March 17, 2023 (ECF No. 90), Coinbase, Inc. (“Coin-
 2   base”) submits this supplemental statement certifying that its proposed amicus brief is not dupli-
 3   cative of arguments made by the parties or other amici. See ECF No. 78-2. Most of the issues
 4   addressed in Coinbase’s proposed amicus brief—including Coinbase’s process for listing digital
 5   assets, its engagement with the SEC during its public-listing process, its petition for rulemaking
 6   regarding digital-asset securities, and its argument that the SEC must engage in notice-and-com-
 7   ment rulemaking—are not addressed by the parties or other amici in any robust way. And while
 8   other amici also discuss various prior SEC guidance, Coinbase’s proposed amicus brief provides
 9   a different legal framework for explaining why the SEC’s failure to provide fair notice to the crypto
10   industry violates due process. Although there necessarily is some overlap between the briefing of
11   the parties and the amici on the central issue in this case—whether the digital assets at issue are
12   “securities”—Coinbase offers a distinct, concise presentation of those issues and brings its “unique
13   information [and] perspective” to bear. Beldock v. Microsoft Corp., No. C22-1082, 2022 WL
14   17551138, at *1 (W.D. Wash. Dec. 9, 2022).
15          As explained in its proposed amicus brief, Coinbase is the largest cryptocurrency trading
16   platform in the United States and has expertise in applying the securities laws to digital assets,
17   including through its extensive efforts to ensure that every asset it lists on its exchange is not a
18   security under applicable law. Moreover, because the SEC’s allegations in this case hinge on the
19   agency’s erroneous contention that Coinbase has listed digital assets that are securities, Coinbase
20   has a unique and compelling interest in explaining why the SEC is misreading the securities
21   laws. In doing so, Coinbase has avoided unnecessary duplication by making only a summary ver-
22   sion of particular points developed in other briefs and citing specific portions of those briefs where
23   the Court can find a more detailed presentation.
24          Coinbase therefore respectfully requests that the Court grant its motion for leave to file the
25   proposed amicus brief.
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              Case 2:22-cv-01009-TL Document 98 Filed 03/22/23 Page 3 of 3


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     Dated: March 22, 2023                 Respectfully submitted,
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